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A 0 2458 (Rev 12103) Sheet 1 -Judgment in a Criminal Case



                                UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                             TAMPA DMSION



UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE

                                                                 CASE NUMBER: 8:06-cr-169-T-30TBM
                                                                 USM NUMBER: 48682-018
VS.




JUAN HERNANDEZ
                                                                 Defendant's Attorney: Connie Mederos-Jacobs, ret.

THE DEFENDANT:

21_ pleaded guilty to count(s) One of the Indictment
- pleaded nolo contendere to couut(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                          NATURE OF OFFENSE                                 OFFENSE ENDED             COUNT

21 U.S.C. $8 846 and 841 (a)(l) Conspiracy to Possess With the Intent to Distribute March 22, 2006                   One
and 841 (b)(l)(A)               5 Kilograms or More of Cocaine

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is mposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
- Count(s) is dismissed on ihe motion of the United States
IT 1s FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: November 2, 2006




                                                                                             STATES DISTRICT J U D d

                                                                                  DATE: November-      3,2006
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'40 2453 (Rev 12/03) Sheet 2 - Ii~prisomne~lt
Defendant:          JUAN I-IERNANDEZ                                                                           Judgment - Page 2 of G
Case No. :          8:06-cr- 169-T-30TBM




          After co~isideringthe advisor): sentellci~lgguidelines a n d all of t h e factors identified in Title 18 U.S.C.
$5 3553(a)(1)-(7), the court finds that the seuteiice i~liposedis sufficient, hut not greater than necessary, to co~nplywith
the statutors purposes of sentencing.


        The defeiiclaiit is hereby coliiinitted to the custocly of the Uiiitecl States Bureau of Prisons to be i~iiprisoiied
for a total term of ONE HUNDRED a n d TWENTY (120) MONTHS as lo Count One of the Iiidictnient.




 X The court makes the following 1-econmendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(FL), if possible.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for tl~isdistrict.

          - at - a.ni./p.m. on -.
          - as notified by the TJniled States R~lasslial.


   The drfend;~n~                I;)r service of sentence at the iilstituriorl designated by the BUI-cai~
                s11:ill sur~~cnclcr                                                                    o T Prisons.

          - before 2 p.m. on -,
          - as notified bj- the United States Marshal.
          - as notified by the Probation or Pretrial Services Oftice.


                                                                      RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to                                                   ac

                                                                        , with a certified copy of this judgmunt.

                                                                                                 - -     -



                                                                                           United Scares hlarshal

                                                                        By:

                                                                        Deputy Marshal
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. A 0 235B (Rev. 12103) Sheet 3 - Supervised Release

DL'fmdmt:             J U A N HERYANDEZ                                                                    dudgn~cnt- Page 3of
Cast: No. :           S:06-cr-169-T-?OTBM
                                                             SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervisecl release for a term of FI'I'E (5) YEARS as to
Count One of the Indictment.

         The defendant shall report to the probation office in the district to which the dekndant is relcased within 72 hours of release
fro111[he custody of the Bureau of Prisons.

The defendant shall not co~lmitanother federal, state. or local crime. The defendant shall not illegally possess a controlled substance.
The defendant shall refrain I'ro~nany unlawful use of a controllecl substance. The clel'entlant shall subinit LO one drug Lest ithi hill 15
days of release from i~nprisonrnentand at least two periodic drug tests thereafter, as dctcrnlined by ~ h ccourt.


           The defendant shall cooperate in the collection of DNA as directed by the probation ofticer.


             If this judgnent imposes a fine or a restitution it is a condition of supervised relcnsc that h e defendant pa) in accordance
             with the Schedule of Payments sheet of this jud, (vnent.

             The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
             conditions on the attached page.
                                                 STANDARD COSDITIONS OF SUPERVISION
             the defendrtnt shall not Icave the judicial district witliout the permission o r the court or probation officcr;

             the derendant shall report to the probation officer and shall submit a truthful and complctc \\-rittcn rcport wirhin the first five days of ctrch
             month;

             the defendant shall answer trutlifully all inquiries by the probation officcr and follow the instructions of thc probation officer;

             the defendant shall support his or hcr clcpcndcnts and meet other family rcsponsibilitics;

             the defendant sliall \vork regularly at a lawful occupation. unless excused by the prubution otTccr for schooling, trdininy, or other
             acceptable reasons;

             the defendant shall notify the probation officer at least ten days prior to any change in rcsidcncc or employment;

             the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prcscribed by :I physician;

              the dcfcndant sliall not frcquent places where controlled substances are illegally sold, used, distributed, or admlnisterd:

              the defendant shall not associate with any persons engaged in criminal activity and sliall nor associare \\/it11 any person convictcd of r!
              felon), unless p n t e d pcsmission to do so by the probation officer;

             the defendant shall permit a probation officer to visit him or her at any time at honie 01- c l s c w l ~ and
                                                                                                                       c ~ ~shall pcrnlit confiscation of any
             contraband observed in plain view of the probation officer;

              the defendant shall notify the prob:~tion officer within seventy-two hours of being srrcstcd or qucstioncd by a law enforcement officer-:

              tile clcfcndant shdl n o t ciitcr into any ;~gccmcntto act as an informer or a spc'cial agcnr of n 1;1wcnforcc~im
                                                                                                                              t agency wi~houtthc
              penmission of the COLII-t;

              as direcled by the probation officer, the defendant shall notify third parties of risks that may bc occasioned by the dzfendmt's criminal secord
              or personal history or cliaracteristics and shall permit the probation officer to makc such notilications 2nd to confirm the defendant's
              compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:           JUAN HERNANDEZ                                                           Judgment - Page 4 of     6
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                                             SPECIAL COADITIONS OF SUPERVISIOK

          The defendant shall :dso comply with the following additional conditions oC supcl-vised release:

          If the defendant be deported, helshe shall not be allowed to re-enter the United States without 11112 express per-mission of the
          appropriate govertl~nentalauthority.
          The defendant shall cooperate in the collection of DNA as directed by the probation ol'ficer.

          The manda~orydrug resting provisions shall apply pursuant to the Violel1t Crime Control Act. Based on the probation
          officer's determination that additional drug urinalysis is necessary, the Court authorizes random drug testing nut to excced
          104 tests per year.
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A0 215B (Re\. 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant :          JUAN HERNANDEZ                                                    Judginent - Page 5 of 6
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                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal nlonctary penalties under the schedule of paynlents on Sheet 6 .
                                Asscssmexit                           Fine                        Total Restitutiou

           Totals:              $100.00                               Waived                      NJA


-         The determination of restitution is deferred until            .      An Amelided Jrrtlgmeru in a Ci-imitznl Case ( A 0 245C) will
          be entered after such determination.
-         The defendant n~ustmake restitution (inclucling community restitution) to the following payees in the amount listed
          below.
           If the defendant makes a partial payment, each payee shall receive an approsinlately proportioned payment, unless
           specified otherwise in the priority order or ercentage payment coluriii~below. However, pursuant to 18 U.S.C. 5
           3664(i), all nonfederal victims must be pai! c before the United States.
                                                                                                                  Priority Order or
                                                       *Tota1                     Anlount of                      Percent age of
                                                     A~nountof Loss            Restitution Orclerecl              Pavment




                                Totals:

-          Reslitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U. S .C. 8 36 12(f-). All or the payment options on Sheet
           6 may be sulject to penalties for delinquency and default, pursuant to 18 U .S .C. $ 36 12(g).
-          The couri determined that the defendant does not have the ability to pay inlcrcst and ii: is ordered that:
          -          the inrerest requiremenr is waived for the - fine          - resti turion.

          -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total arno~mlof losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
conmlitted on or after Septeinbcr 13. 1994, but before April 23, 1896.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:       JUAN HERNANDEZ                                                                            -of 6
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                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as iollows:

A.       X        Lump sum p y n e n t of $ 100.00 clue i~nmediately,balance clue
                           -not later than                    , or

                           -in accordance - C. - D, - E or - F below: or
        -         Payment to begin immediately (may be combined with -C , -D, or -F below): or
         -        Payment in equal                  (e.g., weekly, monthly, quarrerl!;) installments of S             over a
                  period of           (e.g., months or years), to commence               days (e.g.. 30 or 60 days) after the
                  (late of this judgment; or
         -        Payment in equal                 (e.g . . weekly. monthly . quarterly) installments of $              over a
                  period of
                               . (e.g., months or years) to commence                        (e.g. 30 or 60 days) after release
                  from imprisoninent to a term of supervision: or
         -        Payment during the term of supervised release will co~mne~ice   within                      (e.g., 30 or
                  60 clays) after release from imprisonment. The court will set h e payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
         -        Special instructions regarding the payirlent of crinlinal monelary pen a 1tles:  '




Unless the court 1r:ls supressl~ordered otherwise, if tlrisjudgment imposes a period of imprisonn~ent.paynenr of criminal
lnoiletary penalties is due dur~ngim rison~nent.All crilninal monetary penal ties, escept those payments made through the
                                       F
Federal Bureau of Prisons' Innlate inancial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        De fendant and Co-Defendant Names and Case Numbers (including defendant nun~ber),Total Amount. Joint and
Several Amount, ant1 corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders tlrar rlre del'eoclant forfeit to the United Stiites i~ninediatelyand voluntarily any and all assets ant1 property.
or portions thereof. subject to forfeiture, which art: in the possession or control of the defendant or the defendant's
nominees. specifically, $5 2 0 0 in cash.



Payments shall be applied in the following order: (1) assessment. (2) restitution PI-incipal, (3) rcsritution interusr, (1)Sinc principal.
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and courr costs.
